Case
 Case2:12-cr-00400-JAD-GWF
       2:12-cr-00400-JAD-GWF Document
                             Document131   Filed10/28/13
                                      127 Filed  11/06/13 Page
                                                           Page  1 of
                                                               1 of 66
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 Case2:12-cr-00400-JAD-GWF
       2:12-cr-00400-JAD-GWF Document
                             Document131   Filed10/28/13
                                      127 Filed  11/06/13 Page
                                                           Page  2 of
                                                               2 of 6 6
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 Case2:12-cr-00400-JAD-GWF
       2:12-cr-00400-JAD-GWF Document
                             Document131  Filed10/28/13
                                      127 Filed 11/06/13 Page
                                                          Page  3 of
                                                              3 of 66




                                November 6, 2013
Case
 Case2:12-cr-00400-JAD-GWF
       2:12-cr-00400-JAD-GWF Document
                             Document131   Filed10/28/13
                                      127 Filed  11/06/13 Page
                                                           Page  4 of
                                                               4 of 66
Case
 Case2:12-cr-00400-JAD-GWF
       2:12-cr-00400-JAD-GWF Document
                             Document131   Filed10/28/13
                                      127 Filed  11/06/13 Page
                                                           Page  5 of
                                                               5 of 66
Case
 Case2:12-cr-00400-JAD-GWF
       2:12-cr-00400-JAD-GWF Document
                             Document131   Filed10/28/13
                                      127 Filed  11/06/13 Page
                                                           Page  6 of
                                                               6 of 66
